           Case 2:03-cr-00401-WBS Document 100 Filed 05/15/08 Page 1 of 2


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 4   Telephone: (916) 554-2763
 5
 6
 7                     IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     )           Case No. 2:03CR00401-WBS KJM P
                                   )
11                  Respondent,    )
                                   )           MOTION FOR EXTENSION OF TIME
12        v.                       )           WITHIN WHICH TO RESPOND TO
                                   )           DEFENDANT’S MOTION TO VACATE
13   LEE ROY TREVINO,              )           JUDGMENT UNDER 28 U.S.C. § 2255
                                   )
14                                 )
                         Movant.   )
15   ______________________________)
16         On April 14, 2008, this court filed an Order requiring the
17   government to respond to movant’s Motion To Vacate Judgment Under 28
18   U.S.C. § 2255 on or before May 14, 2008.        The motion consists of a
19   130 pages of memorandum and exhibits.
20         The United States hereby requests an extension of time (docket
21   no. 99) within which to respond to the Motion to July 14, 2008.         The
22   reason for the request is that the United States needs time to
23   obtain from its archives the original file in this case.          The United
24   ///
25   ///
26   ///
27   ///
28   ///

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          Case 2:03-cr-00401-WBS Document 100 Filed 05/15/08 Page 2 of 2


 1   States also needs additional time to review this lengthy
 2   motion and its exhibits.
 3   DATED: May 12, 2008                   McGREGOR W. SCOTT
                                           United States Attorney
 4
 5
                                         By:_/s/ Mary L.
 6   Grad____________
                                            MARY L. GRAD
 7                                          Assistant U.S. Attorney
 8
 9   SO ORDERED.
10   Dated: May 15, 2008.
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